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                       IN THE UNITED STATES DISTRICT COURT
                           DISTRICT OF SOUTH CAROLINA
                                FLORENCE DIVISION

DHD JESSAMINE, LLC,                )
                                   )    Civil Action No.: 4:22-cv-01235-JD
    Plaintiff,                     )
                                   )
    and                            )
                                   )
WILLIAM D. TALLEVAST, V,           )
                                   )
    Intervenor-Plaintiff,          )
                                   )
v.                                 ) PLAINTIFF DHD JESSAMINE, LLC’S
                                   ) DISCLOSURE OF EXPERT WITNESSES
FLORENCE COUNTY, SOUTH CAROLINA; )       UNDER RULE 26(a)(2), FRCP
FRANK J. BRAND; JASON SPRINGS;     )
ROGER M. POSTON; ALPHONSO          )
BRADLEY; JERRY W. YARBOROUGH;      )
STONEY C. MOORE; WAYMON            )
MUMFORD; and WILLARD DORRIETY, JR. )
as the elected members of          )
the FLORENCE COUNTY COUNCIL; and   )
JOHN DOES 1-15,                    )
                                   )
    Defendants.                    )
                                   )

        Plaintiff, DHD Jessamine, LLC, (“Plaintiff”), by and through its counsel, submits this

disclosure of expert witnesses in accordance with Rule 26(a)(2, FRCP, who Plaintiff will or may

call at trial in the above-captioned matter:


1. Professor Justin Steil, Ph.D.
   MIT Department of Urban Studies and Planning
   77 Massachusetts Avenue, Room 9-515
   Cambridge, MA 02139
   (617) 253-2017
   steil@mit.edu
       A.      Qualifications and Background: Comprehensive information regarding Dr.

Steil’s qualifications and background are set forth within his curriculum vitae, located at Appendix


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A to his report, which is attached as Exhibit A to this filing. Dr. Steil, a lawyer and urban planner,

is a recognized expert on land use law and housing policies, including affordable housing and

housing discrimination and local governance and land use regulation.

       B.      Publications and Presentations Within Last 10 Years: A list of publications or

presentations made within the last 10 years by this witness, as applicable, is included in his

curriculum vitae.

       C.      Other Cases in which Witness has Testified at Trial or by Deposition during

the Last Four Years: A list of cases and deposition in which Dr. Steil has provided testimony

within the last four years is Appendix B to his report.

       D.      Statement of Compensation to be Paid: The schedule of fees and expenses

charged for work conducted by Dr. Steil is $ 300.00 per hour.

       E.      Statement of Opinions: Dr. Steil is expected to testify consistent with the contents

of his written report, which is attached as Exhibit A, including but not limited to his opinions, to a

reasonable degree of statistical certainty, that: (1) the Florence County Council’s moratorium and

related actions had a statistically significant adverse impact on the basis of race in making housing

unavailable to Black South Carolinians; and (2) the Florence County Council’s moratoriums and

related actions perpetuated residential segregation on the basis of race, denying the potential

residents of the affordable housing units (who would be predominantly Black) the benefits of

living in a racially and economically integrated community.




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2. Michael G. Barb, CPA
   Barb & Company
   1611 Devonshire Drive, Suite 100
   Columbia, SC 29204
   803-461-2493
   mike@sc-cpa.com

   Steve Riley, CPA, CFE
   Barb & Company
   1611 Devonshire Drive, Suite 100
   Columbia, SC 29204
   803-461-2493
   steve@sc-cpa.com


       A.      Qualifications and Background: Mr. Barb is the Founder of Barb & Company,

P.A. and is a Certified Public Accountant. He has been a practicing public accountant for 38 years.

Before beginning his public practice, Mr. Barb previously worked for the IRS for 13 years. Mr.

Riley is a shareholder a Barb & Company, P.A. He is a Certified Public Account and Certified

Fraud Examiner. He has been a public accountant for 15 years. Comprehensive information

regarding Mr. Riley’s qualifications and background are set forth within his professional resume,

which is attached as Exhibit B to this filing.

       B.      Publications and Presentations Within Last 10 Years: Not applicable.

       C.      Other Cases in which Witness has Testified at Trial or by Deposition during

the Last Four Years: Not applicable.

       D.      Statement of Compensation to be Paid: The schedule of fees and expenses

charged for work conducted by Mr. Barb and Mr. Riley is $250.00 per hour.

       E.      Statement of Opinions: Mr. Barb and Mr. Riley are expected to testify consistent

with the contents of their written report, which is attached as Exhibit C, which shall include their

opinions as to the actual damages incurred by Plaintiff DHD Jessamine, LLC due to the obstruction

of the affordable housing project, including but not limited to lost profits.

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        3. Additional Designations

       Plaintiff also designates any experts designated by another party who are qualified to

present testimony and who are not objected to at trial by Plaintiff and reserves the right to call the

experts designated above or other experts for purposes of impeachment.

       Plaintiff reserves the right to supplement this disclosure as discovery progresses, including

but not limited to the depositions of any individuals yet to be deposed, and the receipt of additional

records or information.

                                                Respectfully submitted,


                                           By: s/ J. Taylor Powell
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                                                ATTORNEYS FOR PLAINTIFF
July 25, 2023
Charleston, South Carolina




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